Case 1:20-cr-00183-RJJ ECF No. 116, PagelD.667 Filed 12/24/20 Page 1 of 1

DEFENDANT'S RIGHTS
(in a Felony Case)

U.S. v. Daniel Harris Case No. 1:20-cr-00183-RJJ

You have the right to have an attorney at every stage of this proceeding against
you. You may hire your own attorney, or, if you cannot afford an attorney, the court will
appoint one to represent you at no charge.

You have the right not to incriminate yourself, that is, the right to remain silent at
all times. Any statement you do make may be used against you at trial.

You have the right to have the charges against you reviewed by a grand jury. A
grand jury consists of at least 16 and not more than 23 persons. The function of the
grand jury is to decide whether there is probable cause to believe that a crime has been
committed and that you are the one who committed it. If at least 12 grand jurors find
probable cause, the grand jury will return an “indictment,” and the charges against you
can proceed to trial. If the grand jury fails to return an indictment, the charges against
you may be dropped.

You have the right to plead not guilty and the right to a trial by a jury of 12
persons selected at random from this district. You are presumed to be innocent, and
the government has the burden of proving you guilty beyond a reasonable doubt.

You have the right to a speedy, public, jury trial.

At trial, you have the right to testify (or remain silent), to present evidence, to
confront and cross-examine the witnesses against you, to call witnesses in your own
behalf, and to compel their attendance by subpoena.

You may plead any one of three ways: not guilty, guilty, or, with the consent of
the court, no contest. If you refuse to plead, a plea of not guilty will be entered.

If you plead guilty or no contest, there will be no trial of any kind. By so pleading,
you give up your right to a trial by jury or judge, your right against self-incrimination, and
your right to confront and cross-examine witnesses against you and to call witnesses in
your own behalf.

| certify that | have read and understand the above.

 
   

Dated: |Z |7 Zolo : —— :
“Defendant's Signature

Attorney's Signature

 

 
